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               EXHIBIT 3
     (GEICO Policy No. GXU 30152)
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         GEICO                      GOVERNMENT EMPLOYEES INSURANCE COMPANY
                                          HOME OFRCE ¯ WASHINGTON, D.C, ~

                                                EXCESS UMBRELLA LIABILITY POLICY

                                                              DECLARATIONS
         Polity Number GXU N°-                                                                 R=~of: ~z~ 30831
         Item 1. A. Named Insured;           W. R. Grace & Company. and/Dr suhsldlary, associated, affiliated
                                             C~les ~d/oz ordinations, ~ed, controlled ~d/or
                                             ~ed Compares as n~ er harel~f~er

                   B,   Named Insured’s Addr~:            1114 Av~ue of ~he ~erlcas
                                                          ~e~ York, New York 10036




         Item 2. Pol;cy Pedod: Fm~          3~a 30, 1982                           to          June 30, 1983



         |tam 3. First Underlying Umb~dla Lia~’lhy Policy (Insurer, Limits, Policy Numbed:
                 $3,000,000 each oecurremze ~d aggregate ~here applicable as provided by U~derwri~a~
                 at Lloyds of London and C~rtai~ British Compsmles Policy No. TBA.

         Item 4~ Underlying Umbrella Liab~ity Limits of Liability
                 wi~h r~spsct to each occurrence:                              $ 150,000,000
                 which limits apply in excess of underlying insurance.


         Item 8. Underlying Umbrella Liability Agmgate L~mits
                 of Uabflity Where Applicable                                      150,000,000
                 which limits apply in excess of underlying insurance.


        Item 8. GEICO’s Limit of Liability: As per Insuring Agreement II:
                                    a, $10,000,000                each occurrence
                                    b. $ 10, 00O, 000             aggregate whenB applicable

                 ~nich is part of $I00,000,000 each occurrence and ag~reEate where applicable in
                 ~cess of Items (~) a¢~ C5) above.




        Item 7. Premium:           a. Rat Charge                              $ 000
                                   h. Depos~ premium "                        $
                                   c. Minimum premium                         $
                                   d. Rate
                                   e. Audit RepoSing pedod:
                                       {Annual unless otherw{~ indicated)




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SUBJ     APRIL 20D9
                                                                                                    WRG 000000024
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                                                   Eff~ctivaDate J~e 30v 1982


                           NEW YORK STATE AMENDATOR¥ ENDORSEMENT

                                  (EXCESS UMBRELLA POLICY)




SUBJEC    RiL 2009
~CONFID                                                             .WRG 000000029.
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                               ENDORSEMENT


                                            EffectiveDate   3~.me 30, 1982




                    NEW YORK STATE AMENOATORY ENDORSEMENT
                (EXCESS UMBRELL&. OR EXCESS LIABILITY POLICY)




                                        of GOVERNMENT EMPLOYEES INSURANCE COMPANY,




                                          Date J~zlv 5. 1982




                                                                 WRG 000000030
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GEICO




   It is a~Teed that Condition (K) cf the policy, cancell~tion, is amended in


   Reference to "thirty (30) days" is amended to Tread "s~x~y (60) days"




                                                                           WRG 000000031
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                                                                        J
                Goverm~e~t: E~ployees 7~.surauce Com~an7




               I= is a~reed that ~¢ep= o~ly wi~h respect for policy ~arm, premium and I~i¢
               of l~bill~y~ ~s p~l~y ~ hera~y ~mend~ t~ foll~ all nhm te~s~ c~ndi~ns,
               def~i~ons and ~!us~ of ~he f~s= ~yar ~rella p~licy~ Lloyds of London
               a~ Cerna~ Br~¢Ish ~es ~olicy Ne. ~ a~ all rentals and replac~s
               ~h~re~f. I~ ~ fu~har a~e~ ~ all preprin~ ~a~s a~ cen~itlo~ hereon




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’ SUBJECT~RPRIL 2009
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CONFiD.~


                                                                     WRG "00~000033 ¯
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           GOVERNMENT EMPLOYEES INSURANCE COMPANY
                                HOME OFFICE $ WASHINGTON, D.C. 20076

                                 EXCESS UMBRELLA LIABILITY POLICY




SU}~J~CT~i~P’A,PR[L=~I~’~’~ 2:009.                                                GE|-000061
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                                     RECONCILIAI:]ON OF TERMS




S ~JB,~ C~Tc~liI~’KPRI L- ’Z0_09.                               ~
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